  USCA11 Case: 22-12593           Document: 59        Date Filed: 09/28/2023         Page: 1 of 2

                                                                              Wesley A. Morrissette
                                                                              Wesley.Morrissette@BartlitBeck.com

                                                                              Courthouse Place
                                                                              54 West Hubbard Street
September 28, 2023                                                            Chicago, IL 60654
                                                                              main: (312) 494-4400
                                                                              direct: (312) 494-4401
Via CM/ECF                                                                    BartlitBeck.com


Mr. David J. Smith
Clerk of Court
U.S. Court of Appeals for the Eleventh Circuit
56 Forsyth St, NW
Atlanta, GA 30303

       Re:     Rose et al. v. Georgia Secretary of State, No. 22-12593

Dear Mr. Smith,

        Appellees submit this letter under Federal Rule of Appellate Procedure 28(j) to alert this
Court of a pertinent and significant decision, Allen v. Milligan, No. 23A231, 600 U.S. ________
(Sept. 26, 2023), that supports affirmance here.

        In Milligan, the Supreme Court rejected, without dissent, the Alabama Secretary of
State’s application to stay the District Court’s order enjoining the use of the Alabama
legislature’s 2023 remedial plan and ordering a special master and cartographer to draw a
replacement. Op. 1. In the order at issue, a three-judge panel that included Judge Marcus
unanimously held that the Alabama legislature’s 2023 remedial map was insufficient to remedy
the Section Two violation because it did “not include an additional opportunity district,” and that
it would likely violate Section Two even if analyzed anew. Singleton v. Allen, — F. Supp. 3d —,
2023 WL 5691156, at *50 (N.D. Ala. Sept. 5, 2023).

         The Supreme Court’s decision is pertinent here. The District Court’s injunction order in
Milligan again rejected the same argument Secretary makes in the present case: that Georgia’s
state interest in having statewide elections for the Public Service Commission—what the
Secretary refers to as Georgia’s “chosen form of government” (Br. 23)—somehow trumps the
remaining factors of the totality of the circumstances analysis. In Milligan, the District Court
emphasized that Supreme Court precedent “has time and again rejected the idea that any
circumstance can be the circumstance that allows a plan to dilute votes.” Singleton, 2023 WL
5691156, at *66. Here, Judge Grimberg correctly applied this precedent in weighing the
Secretary’s state-interest/form-of-government argument as just one of the nine Senate Factors to
be considered.
  USCA11 Case: 22-12593     Document: 59   Date Filed: 09/28/2023   Page: 2 of 2



September 28, 2023
Page 2


                                    Sincerely,



                                    Wesley A. Morrissette
                                    Counsel for Appellees

cc: All counsel on CM/ECF
